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                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA

 IN RE: SOCIAL MEDIA ADOLESCENT                           MDL No. 3047
 ADDICTION/PERSONAL INJURY
 PRODUCTS LIABILITY LITIGATION                            Case Nos.: 4:22-md-03047-YGR-PHK

                                                                       4:23-cv-05448-YGR

 This Filing Relates to:                                  META DEFENDANTS’ RESPONSE
                                                          TO STATE ATTORNEYS
 People of the State of California, et al. v. Meta        GENERAL’S ADMINISTRATIVE
 Platforms, Inc., et al.                                  MOTION FOR LEAVE TO FILE
                                                          SUPPLEMENTAL INFORMATION

                                                          Judge: Hon. Yvonne Gonzalez Rogers
                                                          Magistrate Judge: Hon. Peter H. Kang



       The State AGs have submitted notice to the Court of efforts Meta has recently undertaken

to serve third-party subpoenas to a fraction of the 275 State Agencies at issue. Meta does not

object to the States’ submission of these subpoenas as supplemental information, but submits this

Response to clarify that the service of these subpoenas does not moot the dispute pending before

this Court over whether state entities other than the State AGs’ offices are subject to party

discovery (the “State Agency discovery dispute”), which the parties briefed in their joint

submissions on March 15 and April 1, see ECF Nos. 685, 738, and argued before this Court on

March 21 and May 6, see ECF Nos. 714, 822.

       The Court previously suggested that Meta serve targeted third-party discovery while the

State Agency discovery dispute is pending, noting that Meta could serve “at least a few [third-

party] subpoenas to prioritize the agencies you really wanted to go after first.” May 6, 2024

DMC Tr. 103:20-25 (“It doesn’t have to be done as an all-or-nothing thing; right?”). Consistent

with that suggestion, Meta recently served subpoenas on 52 of the 275 State Agencies identified
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as likely to possess relevant information. See Administrative Motion at 2; ECF No. 738-1.1

With each subpoena, Meta expressly stated that it did not waive its position that the State

Agencies should be subject to party discovery. See, e.g., Subpoena to Arizona Department of

Child Safety (attached as Exhibit A). That no-waiver position is consistent with one earlier

urged by the State AGs, who argued that Meta “could have served subpoenas on a subset of

agencies that they were really interested in getting documents from. They could have done that

while they’re still litigating this dispute over who is subject to party discovery.” Id. 104:18-23.

       The State Agency discovery dispute remains ripe because, should the Court rule that

State Agencies are not subject to party discovery, Meta would need to serve 223 additional

subpoenas on the remaining agencies in a matter of weeks. Meta would then need to separately

negotiate with each of those agencies regarding the scope of their productions, meet and confer

with each agency regarding any deficiencies, and tee up discovery disputes with the Court on an

agency-by-agency basis. Moreover, the agencies (including those already subpoenaed) might

argue that they are subject to “the protections of Rule 45” and “the limitations that characterize

third-party discovery.” Airwair Int'l Ltd. v. Zoetop Bus. Co., Ltd., 2021 WL 6091263, at *2

(N.D. Cal. Dec. 23, 2021). Accordingly, Meta’s service of subpoenas on certain agencies does

not moot the dispute as to whether State Agencies are parties for discovery purposes, which

remains pending before this Court.




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 In addition to the 26 subpoenas included in the State AGs’ submission, Meta served another 26
subpoenas on priority State Agencies on July 29.

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Dated: July 29, 2024                Respectfully submitted,

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